Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 1 of 34


                                                                                Service of Process
                                                                                Transmittal
                                                                                12/26/2019
                                                                                CT Log Number 536882045
      TO:      JAMIE LAGUS
               AMERICAN AIRLINES GROUP INC.
               1 SKYVIEW DRIVE, MD 8B503
               FORT WORTH, TX 76155-2664

      RE:      Process Served in Texas

      FOR:     American Airlines, Inc. (Domestic State: DE)




      ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

      TITLE OF ACTION:                   Mildred Walker, Pltf. vs. American Airlines, Dft.
                                         Name discrepancy noted.
      DOCUMENT(S) SERVED:                Complaint, Attachment(s), Exhibit(s)
      COURT/AGENCY:                      DISTRICT COURT OF TULSA COUNTY STATE OF OKLAHOMA, OK
                                         Case # FD20180831
      NATURE OF ACTION:                  Defendant failed to perform the duties effectively as Unjustified termination of
                                         benefits and Negligent in obtaining proper documentation of legal divorce or
                                         separation.
      ON WHOM PROCESS WAS SERVED:        C T Corporation System, Dallas, TX
      DATE AND HOUR OF SERVICE:          By Certified Mail on 12/26/2019 postmarked on 12/20/2019
      JURISDICTION SERVED :              Texas
      APPEARANCE OR ANSWER DUE:          None Specified
      ATTORNEY(S) / SENDER(S):           Mildred Walker
                                         427 S. 104th E. Ave.
                                         Tulsa, Ok 74128
                                         918-841-9471
      ACTION ITEMS:                      CT has retained the current log, Retain Date: 12/27/2019, Expected Purge Date:
                                         01/01/2020

                                         Image SOP

                                         Email Notification, JAMIE LAGUS jamie.lagus@aa.com

                                         Email Notification, LESTER GIPSON lester.gipson@aa.com

                                         Email Notification, DEDE HASSELL dede.hassell@aa.com

      SIGNED:                            C T Corporation System
      ADDRESS:                           1999 Bryan Street
                                         Suite 900
                                         Dallas, TX 75201
      For Questions:                     866-665-5799
                                         SouthTeam2@wolterskluwer.com




                                                                                Page 1 of 1 / SH
                                                                                Information displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This information does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained in the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.

                                                                                                                EXHIBIT A
                               Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 2 of 34
    0   Mildred Walker
        427 S 104th East Ave
        Thlsa, OK 74128
                                                                                                                                                                :|jg:   ■>,T
                                                                                                                                                                         >
                                                                                                                                                                        r>


                                        70n D14D DDDl
                                                            m
                                                            jmreo starts
                                                            •OSMLiUJtvicsm
                                                                                      TULSA, OK
                                                                                      74106
                                                                                      amSu&t19
                                                                                                                                                         >c.
                                                                                                                                                                         ,4




                                                                  1021
                                                                              75201     $5.85
                                                                                      R2305H129674-14                    i

                                                                                                                         i



                                                                                                                                         t



                                                                             AHEW710N; .
                                                            A«rAw
                                                        cr co«p«‘<*23fe
                                                           1444 V3.ag0o
                                                                   'HDQ
                                                         Dallas, »«*px5
                                                                                              -| 99.01
I




                                                                                                                                                         EXHIBIT A
u                                                                                                   l.l.llll.l.liin hi       ti   -t.it ttt   tit   it
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 3 of 34



                                                                 DISTRICT COURT
    Mildred Walker
                                                                     DEC 2 0 2019
    427 S. 104th E. Ave.
                                                               DON NEWBERRY, Court Clerk
                                                               STATE OF OKLA. TULSA COUNTY
    Tulsa, Oklahoma 74128

    918-841-9471
    Mildredthomasl955@gmail.com

                DISTRICT COURT OF TULSA COUNTY STATE OF OKLAHOMA

                                      ) Case No:

                                      )            COMPLAINT

                                      )


                                      )


    Mildred Walker,

                     Plaintiff,

         Vs.

    American Airlines

    CT Corporation Systems

    1999 Bryan Street Suite: 900

    Dallas Texas, 75201-3136

                      Defendant




                                                                     EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 4 of 34




    1.     Plaintiff is an individual and resident of Tulsa, Oklahoma.
    2.     Defendant is a corporation and at the time of this complaint an employee,
         of American Airlines removed the plaintiff from all benefits which violated
         American Airlines policy
    3.     On or about October 13th, plaintiff received a letter from American Airlines
         stating that Mildred Walker was removed from her benefits because she was
         recently divorced from her husband Veo Walker III

    Plaintiff Mildred Walker brings forth the following counts and allegations
    supporting her cause of action:

                                    COUNT 1-NEGLIGENCE

    Defendant failed to perform the duties effectively, which lead to the injuries
    sustained by Plaintiff.

              Unjustified termination of benefits

               Negligent in obtaining proper documentation of legal divorce or
            separation.

               Failure to investigate letter of contest.

               Failure to substantiate documentation submitted for benefit change.

                Violation of American Airlines Policy


                                              DAMAGES
            WHEREFORE, Plaintiff seeks compensatory damages in the amount
                           *0
            of /&£>, 60*’ .
                                              Dated   /&/£s//f
                                                            Mildred Walker ;     .
                                                           'ifyMU/aJ’Ju
                                                                               EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 5 of 34




                                     Evidence
               (

    Exhibit (A) Lease agreement with Mildred Walker and Sugar
    Berry Apartments.
                            Please note date signed 10/11/13.
                            This will show his intentions.
    Exhibit (B)    Letter from American Airlines Benefit Concepts,
                             Veo Walker III had her removed from all
                              Benefits because they were divorced.


    Exhibit ( C)    Fax cover sheet from Community Action Agency
                   Shows time, and date, and year Plantiff
    responded statue of limitations should not apply.


    Exhibit (D) Letter written from Mildred Walker contesting


    Exhibit (E) Petition for Dissolution for Marriage filed April 2,
    2018.


    Exhibit (F) Separation agreement filed April 4, 2019.




                                                                    EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 6 of 34




    Exhibit (N) A recorded conversation from Ms. Dee Dee Hasell
                  Stating that she received suponea from Mr. Stamps

                And she searched and there was no more
    information concerning this situation, but he probably did
      something online.


    Exhibit (0) All my financials, receipts, IRA paperwork and
    medical bills are in the hands of Jim Stamper, this is a part of
    my evidence.
    If you have any questions you can check with OSCN case no#
    FD-2018-0831




                                                                 r




                                                                     EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 7 of 34




    Exhibit (G) Mediation agreement ordered by court to try to
    resolve situation. Mr. Walker refused giving Mrs. Walker back
    benefits.


    Exhibit ( H) Discovery Documentation ordered by court to
    show the life event that removed his wife from all benefits.


    Exhibit (I) Discovery information for Mrs. Walker not
    acceptable.
    Exhibit (J)      Motion for Compel was filed by Plaintiff


    Exhibit ( K) A suponea to Benefits Concepts was served to get
    the Life Event that removed Mrs. Walker from Her Benefits


    Exhibit (L)     1. Copy of his insurance information was sent
                     2. American Airlines policy that states without
                             divorced and legally separation does apply.


            Exhibit (M) suponea to Benefit Concepts was served to American Airlines to get the
                                    life event and all documentation

    That would resulted in Mrs. Walker being removed by divorce.




                                                                                         EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 8 of 34




     Mildred Walker acknowledges that I received a request for
     Discovery from James Stamper on 12/5/2019.
     I took all documentation to Attorney Stamps office on
     12/10.19.




                                                                    EXHIBIT A
        Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 9 of 34
        < . .




                                                                                                                                                                                             NATIONAL
                                                                                                                                                                                             APARTMENT
                                                                                               Apartment Lease Contract                                                                      ASSOCIATION _

            Date of Lease Contract:       October 11, 2013                                                                               This is a binding contract. Read carefully before signing.
                                      (when the Lease Contract is filled out)                                                                                                                   !
                                                     :   i                                    Moving In - General Information -                                                     •:
            1.   PARTIES. This Lease Contract is' between you, the resident(s) (list all                                   4 th of the month if the rent remains unpaid on said date.
                 people signing the Lease Contract):                                                                   Resident also agrees to pay a charge of $                 30.00         for
                 Mildred Thomas                                                                                        each returned check or- rejected electronic payment and including all
                                                                                                                       late fees for any returned checks. If you don't pay rent on time, you'll be
                                                                                                                       delinquent and all remedies under this Lease Contract will be
                                                                                            and us, the owner:         authorized.           !
                 Suqarberrv Apartments
                                                                                                                 7.     UTILITIES. We'll pay for the following items, if checked:

                 (name of apartment community or title holder). You've agreed to rent                                   □ water          P nr~ □ electricity          □ master antenna ■
                 Apartment No.          0314          , at   10914 East 61st                                            □ wastewater     □ trash □ cable TV           □ other
                 Street                   __________________________ (street address) in
                 Tulsa                    __________________________ (city), Oklahoma,                                 You'll pay for all other utilities, related deposits, and any charges, fees,
                  74133                   (zip code) for use as a private residence only. The                          or services on such utilities. You must not allow utilities to be
                 terms "you" and "your" refer to all residents listed above. The terms                                 disconnected for any reason-including disconnection for not paying
                 "we," "us,” and "our" refer to the owner listed above (or any of owner's                              your bills-until the lease term or renewal period ends. Cable channels
                                                                                                                       that are provided may be changed during the Lease Contract term if the
                 successors' in interest or assigns). Written notice to or from our managers                           change applies to all residents. Utilities may only be used for normal
                 constitutes notice to or from us. If anyone else has guaranteed                                       household purposes and must not be wasted. If your electricity is ever
                 performance of this Lease Contract, a separate Lease Contract Guaranty                                interrupted, you must use only battery-powered lighting. If your utility
                 for each guarantor is attached.                                                                       charges are determined by an individual utility meter or an alternative
I
                                                                                                                       formula, we will attach an addendum to this Lease Contract in
            2.   OCCUPANTS. The apartment will be occupied only by you and (iisf all                                   compliance with state agency rules or city ordinance.
!                 ther occupants not signing the Lease Contract):
                                                                                                                 8.    INSURANCE. We do not maintain insurance to cover your personal
                                                                                                                       property or personal injury. We are not responsible to any resident, guest,
                                                                                                                       or occupant for damage or loss of personal property or personal injury
                                                                                                                       from (including but not limited to) fire, smoke, rain, flood, water and pipe
                                                                                                                       leaks, hail, ice, snow; lightning, wind, explosions, earthquake, interruption
                 No one else may occiij^y the apartment. Persons not listed above must                                 of utilities, theft, hurricane, negligence of other residents, occupants, or
                 not stay in the apartment for more than     7         consecutive days                                invited/uninvitedguests or vandalism unless otherwise required by law.
                 without our prior written consent, and no more than twice that many
                 days in any one month. If the previous space isn't filled in, two days                                We urge you to get your own Insurance for losses to your personal
                 per month is the limit.                                                                               property or injuries due to theft, fire, water damage, pipe leaks and the like.

            3.   LEASE TERM. The initial term of the Lease Contract begins on the                                      Additionally, you are [check one] □ required to purchase personal liability
                 11th day of                  October                 2013 , and ends at                               insurance E) not required to purchase personal liability insurance. If no
                 midnight the 10th day of                 October               , 2014 .                               box is checked, personal liability insurance is not required. If required,
                 This Lease Contract wi          Eomaoci        new month-to-month unless                              failure to maintain personal liability insurance is an incurable breach of
                 either party gives at lea      30     days Written notice of termination                              this Lease Contract and may result in the termination of tenancy and
                 or intent to move-out aL required by          agraph 37. If the number of                             eviction and/or any other remedies as provided by this Lease Contract
                 days isn't filled in, at least       otlSe is required.                                               or state law.

            4.   SECURITY DEPOSIT. Unless modified by addenda, the total security                                9.     SECURITY DEVICES. Keyed lock(s) will be rekeyed after the prior
                 deposit at the time of execution of this Lease Contract for all residents in                         ' resident moves out. The rekeying will be done either before you move
                 the apartment is $      50.00        , due on or before the date this Lease                            in or, if the apartment has a keyless deadbolt on each exterior door,
                 Contract is signed.                                                                                    within 10 days after you move in.

            5.   KEYS AND FURNITURE. You will be provided___2             apartment                                    You may at any time ask us to: (1) install one keyed deadbolt lock on an
    i            key(s),_____2_____ mailbox key(s), and___________ _ other access                                      exterior door if it does not have one; (2) install a bar and/or sliding door
i                devices for                          Your lipartment will be [check                                   pinlock on each sliding glass door; (3) install one keyless deadbolt on
                 one): □ furnished or S3 unfurnished.                                                                  each exterior door; (4) install one doorviewer on each exterior door; and
                                                                                                                       (5) change or rekey locks or latches during the lease term. We must
            6.   RENT AND CHARGES. Unless modified by addenda, you will pay                                            comply with those requests, but you must pay for them.
                 $   589.00   per month for rent, payable in advance and without
                 demand:                                                                                               What You Are Now Requesting. You now request the following to be
                                                                                                                       installed at your expense (if one is not already installed), subject to any
                  IS at the on-site manager's office, or                                                               statutory restrictions on what you may request.
                  IS at our nncUp paymprU citp nr
                   □ at                                  '                                                               IS keyed deadbolt lock                   G   doorviewer
                                                                                                                         □ keyless deadbolt                       □   sliding door pinlock
                 Prorated rent of $ 399.00      is due for thej^nainder of [checkone):                                   □ sliding door bar
                 H. l£ month or □ 2nd month, on NoveifiS’er 1             2013       ■
                                                                                                                      * Payment for Rekeying, Repairs, Etc. You must pay for all repairs or
                 OtherwisK-vaii must pay v         nt on or before the 1st day of each                                  replacements arising from misuse or damage to devices by you or your
                 month (due date) with no grace period. Cash is unacceptable without                                    family, occupants, or guests during your occupancy. You may be
                               itten permission. No checks will be accepted after the                                   required to pay in advance if we notify you within a reasonable time after
                 ou                                                                                                     your request that you are more than 30 days delinquent in reimbursing
                    3rd        ily of the month. You must not withhold or offset rent                                   us for repairing or replacing a device which was misused or damaged by
                 unless-attthbrized by statute. We may, at our option, require at any                                   you, your guest, or an occupant; or if you have requested that we repair,
                 ei      t you pay all rent and other sums in cash, certified or cashier's                              install, change or rekey the same device during the 30 days preceding
                 check, money order, or one monthly check rather than multiple                                          your request and we have complied with your request, i All charges
                 checks. Resident agrees to pay the sum of $       -40.00          on the.                              incurred under this paragraph are regarded as additional rent.

                                                                                         ~ SpecTaj!X>rov19i6n7..,.l »h,. If CU.is,-                                                                 —18
                 **    :•      L .   -c . .                  1 u.xxijligHiiftiSji'fiHU



            10. SPECIAL PROVISIONS. The following special provisions and any                                     11. EARLY MOVE-OUT. Unless modified by an addendum, if you:
                addenda or written rules furnished to you at or before signing will
                become a part of this Lease Contract. These "Special Provisions” will                                  (1) move out without paying rent in full for the entire lease term or
                override any sections of this lease in conflict with the Special Provisions.                               renewal period; or
                                                                                                                       (2) move out at our demand because of your default; or ;
                                                                                                                       (3) are judicially evicted.                             ,
                 See special provisions on the last page
                                                                                                                       You will be liable for all rent owed at the time and as it becomes due
                                                                                                                       under the terms of your lease agreement until the apartment is
                                                                                                                       re-rented AND you agree to be liable for repayment, of any rent
                                                                                                                       concession that was given to you.


                 See any additional special provisions.
                                                                                                                                                         101020130135010K10092073
            Mildred Thomas
            © 2012, National Apartment Association, Inc. - 5/2012, Oklahoma                                                                                                                     Page 1 of 6



                                                                                                                                                            EXHIBIT A
                                                                                                                                                                                         i
                Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 10 of 34
            i . >                                                                                                                                                     I




                           We are not liable for any losses or damages you incur as a result of outages, interruptions, or fluctuations in utility services provided to the
                           dwelling unless such loss or damage was the direct result of negligence by us or our employees. You release us from any and all such claims
                           and waive any claims for offset or reduction of rent or diminished rental value of the dwelling due to such outages, interruptions, or fluctuations.
            /
/                     7.   You agree not to tamper with, adjust, or disconnect any utility sub-metering system or device. Violation of this provision is a material breach of
                           your Lease and may subject you to eviction or other remedies available to us under your Lease and this Utility Addendum.

                      8. Where lawful, all utilities, charges and fees of any kind under this lease shall be considered additional rent, and if partial payments are accepted
                         by the Owner, they will be allocated first to non-rent charges and to rent last.

                      9. The following special provisions and any addenda or written rules furnished to you at or before signing will become a part of this Utility
                         Addendum and will supersede any conflicting provisions of this printed Utility Addendum and/or the Lease Contract.
                           There will be an administration fee of 10% of total bill.


i


                                                                                                                                                                      ;




i




                                                                                                                                                                      I
                       Resident Signature                                                                                   Date
                                                   f             I
                       Resident Signature                                                                                   Date
        1
                      Resident Signature                                                                                    Date

                      Resident Signature                                                                                    Date

                     Management             L           22                                                                  Date           io       n //l



    I




                                                                                                                                                                      i




                                                                                                                                                                      ;
                    Mildred Thomas

                    Page 2 of 2                                                                      © 2013, National Apartment Association, Inc. - 3/2013, Oklahoma
                                                                                                                                                                           c=r

                                                                                                                                               EXHIBIT A
      Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 11 of 34




      CONCEPTS
        a division of WageWorks


       November 19, 2013



       MILDRED WALKER
       427 S 104TH EAST AVE
       TULSA, OK 74128-1202



      Re: COBRA through American Airlines      Election Notice

      Dear MS. WALKER and family:

      You are eligible to elect continuation of your health care benefits under COBRA
      in the American Airlines group health plan (the Plan). _Those benefits ended on
      October 10,~2013 as a result'of your divorce"from a covered employee and may
      be continued through October 10, 2016.

      What is COBRA?
      The Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA) requires certain
      employers who sponsor group health plans to offer employees and their families the
      opportunity to continue health coverage as a result of a "qualifying event." A
      qualifying event is a specific event, such as a reduction in hours or termination
      of employment, that causes active group health plan coverage to end. Coverage is
      extended to certain individuals that are covered on the day before the qualifying
      event (qualified beneficiaries). Qualified beneficiaries are employees, former
- -   employees, spouses, former, spouses, dependent child(ren) and a child who is losing
      coverage under the Plan because he or she is no longer eligible under the Plan.
      A child bom to or placed for adoption with the covered employee after COBRA begins
      is also a qualified beneficiary. Each qualified beneficiary can elect independently
      to continue coverage even if the covered employee chooses not to continue coverage.
      Continuation coverage is the same coverage that you had on the day before your
      qualifying event.

      How do I enroll in COBRA?
      In order to be reinstated, the following two things must occur:

        1.   You must make your election on the enclosed election form, and return it by
             mail to: Benefit Concepts, P.O. Box 246, Barrington, RI 02806. It must be
             post-marked no later than January 18, 2014.  If you wish you may fax it to
             (866) 629-6390, Attention COBRA Department. A covered employee or a qualified
             beneficiary who is the spouse (or was the spouse) of a covered employee on the
             day before the qualifying event occurred may elect coverage on behalf of all
             other qualified beneficiaries. A parent or legal guardian may elect coverage
             on behalf of a minor child. If you do not postmark your election by the due
             date shown above, you will lose your right to elect COBRA continuation coverage.

                                               over




                                                 P.O. Box 246
                                    Barrington, Rhode Island 02806-0246
                                          Facsimile: (866) 629-6390
                                                                             EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 12 of 34



  2.        Once you make your COBRA election, Benefit Concepts will generate and
            mail payment coupons to you. You must remit your initial payment within
            45 days from the date you send us your election form to be reinstated
            with the insurance carrier. Once we receive your initial payment, you
            are reinstated retroactive to October 10, 2013. Note that several coupons
            may make up the initial payment. Check due dates and payment amounts
          ■ carefully, ;We recommend that you remit your payments prior to the due
            dates shown on the coupons to ensure that your coverage continues without'
            interruption.    ... .           ,  ■                   >•■■■•

What if I need to receive medical services before I make mv initial
payment?
If you need to see a doctor or to pick up a prescription before you make your
initial payment, you will need to pay in full for these services. Once you make
your initial payment and your coverage is reinstated, you can submit your claim
for reimbursement to your insurance carrier. As long as your claim is incurred
during your COBRA period of coverage, and you have been reinstated, your insurance
carrier will reimburse you according to plan specifications.

 What happens if I don’t elect COBRA?
 Failure to elect COBRA and continue your health coverage will affect your future
 rights under federal law. First, you can lose the right to avoid having pre­
 existing condition exclusions applied to you by other group health plans if you
 have more than a 63-day gap in health coverage. Election of continuation coverage
:may help you not to have that gap. Second, you will lose the guaranteed right to
purchase individual health insurance policies that do not impose such pre-existing
 condition exclusions if you do not get continuation coverage for the maximum time
 available to you. Finally, you have special enrollment rights under federal law.
 You have the right to request special enrollment in another group health plan for
 which you are otherwise, eligible (such as a plan sponsored by your spouse's
 employer) within 30 days.after your group health coverage ends because of the
 qualifying event listed" above. You will also have the same special'enrollment •
 right at the end of continuation coverage' if' you get continuation coverage for'the
 maximum time available to you.

When will COBRA coverage End?
COBRA will end on the earliest of the following:

   1.       On October 10, 2016, which is when the COBRA coverage period expires;
   2.       On the date the Company ceases to provide health care coverage to any employee;
   3.       On the date a qualified beneficiary becomes covered under any other group
            health plan after the date of your COBRA election; however, if the new
            group plan contains any limitations of coverage for pre-existing conditions,
            then the qualified beneficiary may continue COBRA coverage until either the
            pre-existing condition limitation terminates or rights to continued COBRA
            coverage terminate;                                                              _______________
   "4*?    *A**quia*i'i'fM,fe!gI',13Gi?i,gfTCrljr!tyilf SiT5‘*"W‘luiSke a bimeiy payment as descTTbed^iThhis^^
            notice;
   5.       On the date a qualified beneficiary becomes covered under Medicare (Part A,
            Part B, or both), after the date of the COBRA election.

Continuation coverage may also be terminated for any reason the Plan would terminate
coverage of a participant or beneficiary not receiving continuation coverage (such
as fraud).

How much does COBRA coverage cost?
Generally, each qualified beneficiary may be required to pay the entire premium for
continuation Coverage. The amount that a qualified beneficiary can be charged may

                                              next page




                                                                                          EXHIBIT A
       Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 13 of 34
                    S.xJub.lCO
     HP LaserJet 400 colorMFP M475dn

     Fax Confirmation
     CAP
____ 9184395708_____
     Jan-16-2014 9:42AM


     Job     Date         Time        Type                       Identification                             Duration         Pages     Result
      1541   1/16/2014    9:41:59AM    Send                      18666296390                                0:51 '           2         OK




                                      Phone                                           p»tc      / JL ~                 n
                                      Re

                                                                                                                       &Se
                                      (__j Urgent   For Review   J^J Please Comment          Please Reply    Please




                                  s
                                  S
                                  S
                                  I

                                 Q



                                                                                                                                     EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 14 of 34




    I am writing this letter in regards to the extended benefit for

    qualifying spouse through Benefits Concepts. I am not divorced
    nor am I legally separated the date stated on the form you sent
    to me October 10, 2013 said employer removed me for those—
    reasons. No documentation was presented to HR department
    at American Airlines. I do not accept this benefit

    nor do I refuse it, I do not qualify for it.

    Mildred Walker 04811

    American Airlines - 002098-7




                                                                     EXHIBIT A
              Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 15 of 34
                          UU( E.)
                                                                                                                                             'i
 \    ■   r   '}   ;. &


  M-                                                                                                                                        • . \v
                                                                                                                                                  ■ ~i
                                                                                                                                                             •i
                                                                                                                                                      V

                                           IN THE DISTRICT COURT IN AND FOR TULSA COUNJTY
                                                         STATE OF OKLAHOMA
                                                                                                                                 X..T'r'' '
                          IN RE: THE MARRIAGE OF:                 )
                                                                  )
                                                                                                                   APR 02 2018.
                          VEO WALKER, JR.,                        )                                         DON NEWBERRY, Court Clerk '* *
                                                                                                            STATE OF OKIA. TUL^ COUNTY.    \
                                                                  )
                                   Petitioner,                    )
                                                                  )       CASENO. Fjsrois- 2018                      0831
                                                                                                                                      fi
                          and,                                    )                                                               f

                                                                  )
                          MILDRED WALKER,                         )                   ■££LBocket' A               ~_r-   • '
                                                                                                                                                      -^
                                                                  )
                                   Respondent.                    )

                                                 PETITION FOR DISSOLUTION OF MARRIAGE                                                                        i
                                                                                                                                                          !
                                                                                                                                                         \
                                   COMES NOW, the Petitioner, Veo Walker, Jr., by and through his attorney ofrecord, James..~
                          W. Stamper, and for his cause of action with the Respondent, Mildred Walker, states as follows:


                                                                      7. JURISDICTION
                                   1.      The parties are now and have been for more than thirty days, next preceding this
                                           Petition for Dissolution of Marriage, residents of Tulsa County, and have been for
                                           more than six months, next preceding the filing of this Petition, residents of the State
                                           of Oklahoma.

                                                                                                                                                         I
                                 • 2.      That there are no minor children involved in this action.
                                                                                                                                                         t
                                                                                                                     _ .              ...


                                                                       II. RECITALS
                                   1.      The parties hereto were legally married on or about the 19th day of December, 2004,
                                                                                                                                                         i
                                          in the County of Tulsa, State of Oklahoma (ML-2004-3530), and are at present
                                          husband and wife.


                                   2.      Petitioner and Respondent have been separated for over five (5) years.
                                                                                                                                                  ;


                                                                           Page 1

                                                                                                              EXHIBIT A
v T
                  Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 16 of 34
      *•              :
. rtr
           % ■*       >   ■




           J.                                                                                                                                         >
                                       . S'
                                                                                                                                                     »    .»•       ■




                                                                                                                                                     1» s j
\                             'T   ■                                                                                                                            •f-




                                                                                      ///. /SSt/E
>..
                                               1.       To the best of Petitioner’s knowledge and belief, the Respondent is not pregnant at
                                                        the time of filing of this Petition for Dissolution ofMarriage.


                                                                            IV. GROUNDS OF ACTION
                                                                                                                                           *   r'


                          :   #■         1     1.       As grounds for Dissolution of Marriage, the Petitioner alleges that a state ofcomplete^ __
                                                        and irreconcilable incompatibility has arisen between the parties hereto which has
                                                        completely destroyed the legitimate aim of the marriage of the parties, and renders
                                                        its continuation impossible, by reason of which the Petitioner is entitled to a Decree
                                                        of Dissolution of Marriage from the Respondent.
        •«
                  t

                                                                              V PROPERTY & DEBTS
                                               1.       That Petitioner and Respondent are jointly possessed and seized of the following
                                                        described real property, to wit:


                                                               Lot One (1), Block Sixteen (16), AMENDED ROSEWOOD ADDITION,
                                                               BLOCKS Eleven (11) THRU Twenty-two (22), City of Tulsa, Tulsa County,
                                                    t
                                                               State of Oklahoma, according to the Recorded Plat No. 2322. A.K.A. 427 S.
                                                                                                                                                            :\
                                                        _ ___ L04th E. Ave., Tulsa, OK 74128                                          A4              %J

                                              2.    The parties have accumulated certain personal property and debts during their
                                                    marriage, and it is the Petitioner’s belief that an equitable division of the debts and
                                                    property of the parties herein may be reached without the assistance of the Court,
                                                    however; should such negotiations fail, the Petitioner asks the Court to make such
                                                    equitable divisions as it deems proper.
                                                                                                                                                                t




                                                                                                                                                           .<
                                                                                                                                                            \
                                                                                       Page 2                                                    *
                                                                                                                          EXHIBIT A
                                                                                                                                                                I
                 Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 17 of 34



                           ■%




                      v-


                                       WHEREFORE, premises considered, Petitioner prays that upon hearing this cause, the
                                Court award to the Petitioner and Respondent as follows:
        f'                             a. Decree of Dissolution of Marriage;
                                       b. an equitable distribution of the property and debts of the parties;
                                       c. enter such other orders and grant such other relief as Petitioner may be by law entitled.


                                                                                       Respectfully submitted



                                                                                         A
                                                                                       Jfa&es W. Stamper, Attorney at Law
                                                                                       m S. Boulder, #400
                                                                                       Tulsa, Oklahoma 74103
                                                                                       (918) 587-3700 Telephone
                                                                                       (918) 585-1556 Facsimile
                                                                                       Attorney for Petitioner

    !
    r;.:
        h»   :
             :■   ■




    S&: ' •




'f4
'*




    /
I,-
I
|r
        •
*                                                                             Page 3
i                                                                                                               EXHIBIT A
                             Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 18 of 34
                         , ■ ='.~-y ' n      "'^7

                                                                                                                                                                          ■*       .




                          /.            :                                                                                                                                 }


                         /        - -i                                                                                                            ■j

                                                                                                                                                                         >


                                      .t                                                                                                                                               *
                                                                                                                                                                   4»*
                                                                                         VERIFICATION
            v                                                                                                                      •*•*
                                            STATE OF OKLAHOMA                        )
                                                                   »
                                                                                    ) ss.
                                            COUNTY OF TULSA                         )
    '
y                                                     Veo Walker, Jr., being of lawful age, being first duly sworn, states that he is the Petitioner
                                            above named; that he has read the within and foregoing Petition; and that the matters and things
        i
                'k
                                            herein stated are true and correct.
                         #                                                                                                                    /        i

                                                                                                       f\                                                                          ;
                                  *                           ■v

                                                                                                      NjouG)

                                                                                                    Veo Walker, Jr.
i                                                                                                                                                                    .1




                                                      Subscribed and sworn to before me this 29th day of March, 2018.                                          *




                                                                                                            Public
                          • r.
                             1
                                            MM CUB^feslon E^^p.buc
                     t
                          '-i                                State of Oklahoma
                                            —               JAWC^HWrSTAMPER
                                                                                !
                                                               VJLSA C0UNTY     }
                                                           COMMISSION #16C03406S
                                                    ^M^-.Cgfmn. Exp. 03-30^020]
                                                                                                                                                           t




                                 7S7.




                                                                                                                                                                               I




                                                                                             Page 4
                                                                                                                               EXHIBIT A
   Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 19 of 34


                                    SEPARATION AGREEMENT
       THIS SEPARATION AGREEMENT (the "Agreement") dated this


DISJRIgr CgJRJj
                                                    BETWEEN:

   /\PR 0 ^ 2019       Veo Walker Jr of 1243 North Boston Place, Tulsa, Oklahoma, 74106

                                              OF THE FIRST PART

                                                       AND
                       Mildred Thomas of 427 South 1-3? east ave, Tulsa, Oklahoma, 74134" 'rl4Y2.&
                                                       \o4
                                            OF THE SECOND PART

BACKGROUND:
   1. Veo Walker Jr and Mildred Thomas (collectively the "Parties" and individually a "Party") were lawfully
      married on December 19th, 2004, in Tulsa, Oklahoma. Due to certain differences that have developed
      between the Parties, they agree to live separate and apart from each other, subject to the terms and
      conditions in this Agreement.

  2. The Parties have made complete, fair and accurate disclosure to each other on all financial matters reflected
     in this Agreement.

  3. The terms of this Agreement are intended to settle the matters addressed, but it will not be incorporated
     into a final decree of divorce. The Parties agree that a subsequent separation agreement will have to be
     made and duly incorporated into a final decree of divorce.

  4. The Parties have each voluntarily entered into this Agreement and have not been forced by anyone to sign
     this Agreement, and both the Parties confirm that they are in sound mental health.


IN CONSIDERATION OF the mutual promises and covenants contained in this Agreement, and other
valuable consideration, the receipt and sufficiency of which consideration is acknowledged, the Parties agree as
follows:

LIVING SEPARATE AND APART                                           \Ju3-
                                          gA eg.     iQd-f- 10 2 01
  1. The Parties have lived separate and apart since March 23, 20197 Neither Party will attend the other's living
     space or work without invitation or approval.

CHILDREN
  2. There are no children of the marriage. Furthermore, the Wife is not now pregnant and the Parties have not
     adopted any children.




                                                                                                               1 oi '•
                                                                                             EXHIBIT A
   Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 20 of 34

S e par a t i o n A g ree m e n t                                                                          Page 2 of 5


SPOUSAL MAINTENANCE

   3. Neither Party claims entitlement to spousal maintenance. Both Parties expressly waive any claim to spousal
      maintenance now and in the future, regardless of any change in circumstances experienced by either Party.

MARITAL HOME

   4. The marital home is located at: 427 south 137 east ave (the "Marital Home") and is owned by the Parties.

   5. Veo Walker Jr will transfer his interest in the Marital Home to Mildred Thomas.

   6. Veo Walker Jr waives and releases all rights of dower, curtesy, homestead, equitable distribution, and all
      other rights, title and interests, if any, in and to the Marital Home.

   7. Veo Walker Jr has executed or will execute a quitclaim deed conveying his interest in the Marital Home and
      hereafter Mildred Thomas will be solely responsible to pay all encumbrances registered against the Marital
      Home.                                          o«fe-4 -YV\t           'ftg.Rrvawee uv^
         f\anr\%                    \o or\   ---- v       a>
   8. Mildred Thomas will indemnify and hold Veo Walker Jr harmless from and against all obligations, and
      expenses, including reasonable attorney's fees, arising out of or relating to the Marital Home.

ASSETS
  9. The Parties acknowledge that they have agreed upon a division of all assets, owned or possessed by them as
     marital property or separate property. The Parties are in possession of all of those assets to. which each is
     respectively entitled. Accordingly, neither makes any claim to any assets in the possession of the other.

DEBTS
 10. The Parties agree that any indebtedness secured against, or attributable to, any item of property that either
     Party is receiving under this Agreement will be the sole responsibility of the Party receiving the particular
     property.

11. Neither Party will incur any further debt or liability on the other Party's credit. Any debt accumulated as of
    the date of this Agreement is the debt of the individual Party, regardless if the debt was incurred as a result
    of joint credit.

GENERAL PROVISIONS
12. The Parties will promptly sign and give to the other all documents necessary to give effect to the terms of
    this Agreement.

13. This Agreement contains the entire agreement between the Parties about their relationship with each other.
    It replaces any earlier written or oral agreement between the Parties.

14. Should any portion of this Agreement be held by a court of law to be invalid, unenforceable, or void, such
    holding will not have the effect of invalidating or voiding the remainder of this Agreement, and the Parties
    agree that the portion so held to be invalid, unenforceable, or void, will be deemed amended, reduced in
    scope, or otherwise stricken only to the extent required for purposes of validity and enforcement in the


                                                                                              EXHIBIT A
      Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 21 of 34
V
    Separation Agreement                                                                                        Page 3 of 5


         jurisdiction of such holding.

     15. The Parties may only amend this Agreement in writing after both Parties have obtained legal advice on the
         changes.

     16. In the event that a dispute arises regarding this Agreement, the Parties will try to resolve the matter
         through negotiation or mediation, prior to initiating a court action.

     17. Notwithstanding that the Parties acknowledge and agree that their circumstances at the execution of this
         Agreement may change for any reason, including but without limiting the generality of the foregoing, the
         passage of years, it is nonetheless their intention to be bound strictly by the terms of this Agreement at all
         times.

     18. This Agreement creates a fiduciary relationship between the Parties in which each Party agrees to act with
         the utmost of good faith and fair dealing toward the other in all aspects of this Agreement.

     19. The Parties agree to provide and execute such further documentation as may be reasonably required to give
         full force and effect to each terms of this Agreement.

     20. The headings of this Agreement form no part of it, and will be deemed to have been inserted for
         convenience only.

     21. This Agreement will be binding upon and will enure to the benefit of the Parties, their respective heirs,
         executors, administrators, and assigns.

     22. If the Parties reconcile, the terms of this Agreement will remain in effect unless the Parties revoke it in
         writing.

     23. This Agreement may only be terminated or amended by the Parties in writing signed by both of them.

    24. The law of the State of Oklahoma will govern the interpretation of this Agreement, and the status,
        ownership, and division of property between the Parties wherever either or both of them may from time to
        time reside.



    WITNESS OUR HANDS, this           ^ day of                       Zfc>\Q

                                                              \l jO 'JZbJ*—^
                                                              Veo Walker Jr




                                                              Mildred Thomas


                                                                                                    EXHIBIT A
       Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 22 of 34

9- '     rotion AgreeinenI:                                                              Page -1 of 5
 \



                                               ACKNOWLEDGMENT



     The State of Oklahoma                                 )


                                                           )


     County of                                             )




     This instrument was acknowledged before me on             &pn/ y j?q/4    by Veo Walker Jr.


                                       Notary Public
                                    State of Oklahoma
                                     JENNIFER L. SMITH
                                     TULSA COUNTY
                                   COMMISSION #17001854        OTARY PUBLIC
                                   Comm. Exp. 02-23-2021
                                                           Print Name:.



     My Commission Expires:




                                                                              EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 23 of 34
                                                                          LL




           m       or    Sr                     DISTRICT CO Uhl
                                                               •R-
                                                 — MAR-1- 8 2019—
  MlMrc'J W/tflJc en                          DON NEWBEHHV. O,-:
                                              SWEOFOKi.A T..1' ..a




                          L/rrfla \                              ttcvtneATdCr/AKj

              1  M \ t c\ rcA V\/a ^ VtJT     DO                     l               H
              N\crrck‘ &D\°\>

                                                                                   -e
     (J^
                     Oj-7«Vj
            |j0UA)V^i^                  )ftSfV
                                                 ^fi h> ^p'u

                        <Wt*- desrc^. ^                        OdoW' l°i ^d,S
               t    a
                                                                            m <r5-
     (5^                     /M     \V\-e S
                                                                         Ka o o
                                                             na
                                                           0>O   jbo' "Wkoo
            IKaurdMLe-                                        .r 1^
             04vP'%u^ |0e^
            ^/A5a'0\




                                                                               EXHIBIT A
  Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 24 of 34
                                CITY OF TULSA
                           E)4iik'k^
                        TULSA COUNTY, STATE OF OKLAHOMA

                                                               EARLY SETTLEMENT MEDIATION


              /
       1/                  1a/yj/br
                                       Initiating Party,

                              vs -                                                                           — Case No.- A 0 -AO/A— -dd-f-


 n7\.'s/-d^/ 14//
                                       Responding Party.

                                                                            MEDIATION AGREEMENT

       WHEREAS, We, the undersigned, as disputing parties, certify that this agreement shall constitute a .mutually
acceptable solution and shall abide by the following terms and conditions; now therefore, be it
       AGREED, That the undersigned's obligations are as follows:
                       /   Jajl^
                                /               /
       t
                                                        tAts-* s                      /6--r {?■..        /''fr?"     /Ae                      C-/A
                                                                                  A
                                                                                         r               u
       nj r j. /o<r6*l /r                                               /
                                                                              /"'.^cAu. fJX                        7-r/J ,f „     /
                                                                                                                                      ^ ole#
                                                    /                       ^ , dUJ.
                                    y-r     (                       /'1s£c<L-A/                                                       / J- Si*
                                                                                                                                               J
                                 £.-X
                                                               £y

                           dr.!&**■/            3/7/9’.
/./                                    /
                  T'ldL*                   ■7^      SI-w        0-7SSS?..
                                                                    /                    (J                  /                   / /
                                                                                                                                        ■s-A^ 0~Td
                                                                                                                                                    x .
                   -£~r '       sA A*sAAA                                                           ,X        .    !/ —   t*j?
                                                                                                                                                    t-SJ3^~


       ■9 •        •                    ■ €i^e£/A                                 dU7+3-r                 d/£>/0 ,
...t                        -.n S‘.d
                   J           7                        /




                                                                                                                                             ; and be it further

                  AGREED, That the undersigned have read and understand this Agreement and hereby agree to abide by its terms.



INITIATING PARTY                                                                                                   RESPONDING PARTY


DATE                                                                                                               DATE

                                                            ATTEST:
                                                                                MEDIATOR. .
                                                                                                                                        EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 25 of 34

SUBPOENA-DUCES TECUM
STATE OF OKLAHOMA,

COUNTY OF TULSA,             } ss                                                          IN THE DISTRICT COURT
                                                                             )-
                                                                             )
                                                                             )
\l            VJ                  r               C                          )
                                                 Plaintiff
                                    V5.
                                                                             )
                                                                             )             No.           -)$ -22J
                                                                             )
       }A;)(\fsA \^c\\\er                                                    )
                                             Defendant                  •    )
THE STATE OF OKLAHOMA,
                                         &A
                                        PC\ y\          1 t ^ nx- i=>
                                                                                        ^enAc.e                                f
                               /j/if/ZAJ ]U&>LfAL<Z- r)7~p                                                                      GREETINGS:

     You are hereby commanded to appear before Judg
County, at the Courthouse thereof, on the f/vf-
                                                               e ~~f#A
                                                                  day of                         aW
                                                                                                              _ in tie District Court of Tulsa
                                                                                                              at         $ .M. to testify as a
witness on behalf of the                                                                                      in the.above styled action, and
bring with you______                                                                             imr          <1 /n?r/°ci\
       kU C*Qia
                                                                                                    and do not depart without leave of court.
        Hereto fail not, under penalty of law.
       IN WITNESS Whereof, I have hereunto set my hand and official seal this     tU4^ day of vS<A(7fo.frVU<7        j 1^1
                                                                                  DON NEWBERRY, Court Clerk

                                                                            By
                                                                                                                                    Deputy.
          Address

          Phone
                                                                                                                                    *{
          Form 008 (Rev. 11-17) Front




 7 '




                                                                                                                                                     ✓
                                                                                                                  EXHIBIT A                      /
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 26 of 34




    Defendant

     427 S. 104th E. Ave

    Tulsa, Oklahoma 74128

                           Dristict Court In And For Tulsa County

                                    State Of Oklahoma

    Veo Walker Jr.                                 CASE NO: 2018-0831

          Plantiff                                  MOTION TO COMPEL

          VS

     Mildred Walker

           Defendant

         Pursuant to local rules, Defendant hereby moves the court be compelled to
     respond to Discovery based on the following facts:

       1. Discovery was filed March 18, 2019
       2. Plantiff's responses to Discovery were due by ( per statue) to be completed
          by the statutory time, ordered by the court on Wednesday, March 13,2019.
       3. Certified mail was sent March 19, 2019, Plantiff refused to claim on April 6,
          2019, letter was returned to sender April 9, 2019.
       4. Plantiff has not responded in a timely manner and indicated in court on July
          2, 2019 that he did not have such information.                   .
          The Defendant moves the court to Compel the Plantiff to respond to the
          Discovery requests.

                                    MOTION TO COMPEL-1

                                          Dated this 7th day of July 2019.
                                                           Mildred Walker
                                                            Defendant




                                                                             EXHIBIT A
           Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 27 of 34
                           <£J4\4k/t" 0~)
     '%■



’V




            DeDe Hassell
            Legal Department       03                                        American Airlines
            (682) 278-0657 Office
            dede.hassell@aa.com




             October 2, 2019


            VIA Email


            Mildred Walker
            427 South 104th East Avenue
            Tulsa, Oklahoma 74128
            (918) 841-9471


             RE: Veo Walker Jr. v. Mildred Walker; Case No.: FD-18-831

             Dear Ms. Walker:

             Pursuant to your subpoena, in lieu of appearance, please find the reasonably available requested
             benefits policies related to VEO WALKER with DOB 09/13/1958.

            VEO WALKER processed a life event in 2013 and removed the spouse from coverage effective
            10/11/2013. There is no limited coverage through COBRA for non-employees.

             Please see page 29 of the 2013 LAA TWU Benefits Guide attached. COBRA is described on pages 39
             and 233.

            A letter from our Human Resources department with VEO WALKER’S most recent health benefit
            elections is included.

             Should you have any questions, my contact information is listed above.
                                                                                       r~


             Very truly yours,



             DeDe Hassell




             P.O. Box 619616
             MD 8B503
             DFW Airport, TX 75261-9616




                                                                                              EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 28 of 34




                                                                       American Airlines %
    October 2, 2019


    Mildred Walker
    427 South 104th East Avenue
    Tulsa, Oklahoma 74128

    RE:     Employee Name: Veo Walker
                           Employee No.: 536917                                                               i

                           Health Benefits: 2012-2019


    To Whom It May Concern:

    The following information is being provided in response to a subpoena served to American Airlines, Inc.
    in reference to the above named employee.
    Based on Company records Veo Walker was enrolled in the following coverages from 2012-2019. The
    monthly premiums that American Airlines and Veo Walker paid towards benefits are as follows:

    Employee Monthly Contribution                           American Airlines Contribution
    2012                                                    2012
    Employee & Spouse                                       Employee & Spouse
    UHC Value Plus Medical     $185.00                      $2,220.00
    MetLife Dental             $7.95                        $44.82
    Vision                     $13.27
    MetLife Basic Term Life    No Cost
    Vol Term Life               $17.14
    Spouse Term Life            $10.40
    AD&D                       $3.60
    Spouse AD&D                $3.60

    Employee Monthly Contribution                           American Airlines Contribution
    1/1/13-10/10/13                                         1/1/13-10/10/13
    Employee & Spouse                                       Employee & Spouse
    UHC Value Plus Medical     $185.00                      $2,220.00
    MetLife Dental             $7.95                        $44.82
    Vision                     $13.27
    MetLife Basic Term Life    No Cost
    Vol Term Life              $17.14
    Spouse Term Life           $10.40
    AD&D                       $3.60
    Spouse AD&D                $3.60




                                                                                               EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 29 of 34




                                                     American Airlines ^


    Employee Monthly Contribution           American Airlines Contribution
    10/11/13-12/31/13                       10/11/13-12/31/13
    Employee Only                           Employee Only
    UHC Value Medical          $112.50      $455.44
    MetLife Dental             $3.94        $23.38
    Vision                     $7.30
    MetLife Basic Term Life    No Cost
    Vol Term Life              $21.23
    AD&D                       $3.60

    Employee Monthly Contribution           American Airlines Contribution
    2014                                    2014
    Employee Only                           Employee Only
    UHC Value Medical          $124.76      $1,497.12
    MetLife Dental             $3.94        $23.38
    Vision                     $5.84
    MetLife Basic Term Life    No Cost
    Vol Term Life              $38.60
    AD&D                       $3.60

    Employee Monthly Contribution           American Airlines Contribution
    2015                                    2015
    Employee Only                           Employee Only
    UHC Value Medical          $141.96      $559.37
    MetLife TWU Dental         $3.94        $23.38
    Spectera Vision            $5.84
    MetLife Basic Term Life    No Cost
    Vol Term Life              $46.06
    AD&D                       $3.47

    Employee Monthly Contribution           American Airlines Contribution
    2016                                    2016
    Employee Only                           Employee Only
    UHC Value Medical           $159.23     $624.26
    MetLife TWU Dental         $6.37        $36.10
    EyeMed Vision              $5.28
    MetLife Basic Term Life    No Cost
    Vol Term Life              $62.33 ,                                      l
    AD&D                       $3.40

     2




                                                                                 EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 30 of 34




                                                        American Airlines ^


    Employee Monthly Contribution              American Airlines Contribution
    2017                                       2017
    Employee Only                              Employee Only
    UHC Value Medical          $175.12         $683.87
    MetLife TWU Dental         $7.09           $40.17
    EyeMed Vision              $5.28
    MetLife Basic Term Life    No Cost
    Vol Term Life              $66.93
    AD&D                       $3.40

     Employee Monthly Contribution             American Airlines Contribution
     2018                                      2018
     Employee Only                             Employee Only
     UHC Standard Medical       $95.90         $400.12
     MetLife TWU Dental         $6.60          $37.38
     EyeMed Vision              $5.28
     MetLife Basic Term Life    No Cost
     Vol Term Life              $102.11
     AD&D                       $3.40

     Employee Monthly Contribution             American Airlines Contribution
     2019                                      2019
     Employee Only                             Employee Only
     UMR Standard Medical       $102.85        $429.14
     MetLife TWU Dental         $6.52          $36.96
     EyeMed Vision              $5.28
     MetLife Basic Term Life    No Cost
     Vol Term Life              $102.11
     AD&D                       $8.49




     Kelley Stulz
     Benefits Delivery - Health and Wellness




     3




                                                                                EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 31 of 34



             ') Start a Chat"~]
                                                                               Life Events: Making Changes During the Year

    ■ httPs://www.ietnet.aa.com/ietnet/ao/33omercer.asp?ApplD=CHAT

     If You Experience the Following Life Event...              Then, You Can...
(
    |You divorce or legally separate1;                            Medical and Dental Options and Vision Insurance:
    OR                    ~                                       Stop coverage for your eligible spouse or Company-
                                                                  recognized Domestic Partner. Add coverage for yourself
     Your Company-recognized Domestic Partner                     and/or your eligible dependents (dependent coverage
     relationship ends
                                                                  may be subject to QMCSO). You cannot change benefit
     Note: Long Term Disability Plan, as noted here, does not     Options at this time.
     apply to TWU-Represented employees, as their Long
                                                                  Optional Short-Term Disability Insurance Benefit:
    -Term disability coverage is offered by their union.
                                                                  Start coverage; however, this coverage applies to the
                                                                  employee only.
                                                                  Long Term Disability Plan: Start or stop coverage;
                                                                  however, this coverage applies to the employee only.
                                                                  Voluntary Term Life Insurance Benefit: Stop coverage
                                                                  for your eligible spouse and/or child, or increase or
                                                                  decrease existing employee coverage.
                                                                  Spouse Term Life Insurance Benefit: Stop coverage.
                                                                  Child Term Life Insurance Benefit: Stop coverage.
                                                                  AD&D Insurance: Start or stop coverage for yourself;
                                                                  stop coverage for your eligible spouse or child; increase
                                                                  or decrease existing employee coverage.
                                                                  Flexible Spending Account Benefits: Start or stop
                                                                  Flexible Spending Accounts; increase or decrease
                                                                  Flexible Spending Account contributions. However,
                                                                  Company-recognized Domestic Partners and their
                                                                  dependents are not eligible to participate in Flexible
                                                                  Spending Accounts.
    You or your spouse/Company-recognized Domestic              ■ All Medical Benefit Options (excluding HMOs):
    Partner becomes pregnant and you are covered under            Contact your network administrator and the
    the following medical benefit Option                          Healthmatters MatemityMatters program.
    Note: Long Term Disability Plan, as noted here, does not    ■ HMO: Contact your HMO.
    apply to TWU-Represented employees, as their Long           ■ This does not permit you to make any changes to your
    Term disability coverage is offered by their union.           benefit elections until the baby is bom.




    Forms & guides can be located in the eHR Center of Jetnet at
    https://www.ietnet.aa. com/ietnet/ao/ssoehr.asp?TaraetDoc=XML=20                                                          29
    The Benefits Service Center is available at https://www.ietnet.aa.com/ietnet/ao/ssomercer.asp




                                                                                                         EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 32 of 34




            l) Start a Chat
                                                                                 Life Events: Making Changes During the Year

   https://www.ietnet.aa.com/ietnet/ao/ssomercer.asp?ApDlD=CHAT


   If Your Dependent(s) Lose Eligibility Under the
   Plan
   If your dependent(s) lose eligibility under the Plan, you must file a Life Event or contact HR
   Services to remove the ineligible dependent(s) from your coverage — even if you have missed
   the 60-day deadline.
   ■  If you contact HR Services after the 60-day deadline you will be able to remove your
      dependent(s) from coverage, but the effective date of the removal will be the date you
      notified HR Services, and your resulting contribution rate changes, if any, will be effective as
      of the date you notified HR Services.
    ■ You will not receive a refund of contributions paid between the date your dependent(s)
      became ineligible for coverage and the date you notified HR Services of their ineligibility.
   ■■ Important: If you do not file a Life Event, notify HR Services of your dependent(s) losing <
      eligibility and request your dependent(s) be solicited for COBRA within the 60-day time .
      frame, the dependent(s) will lose their right to continue coverage under COBRA, so it is
      important that you are timely in registering your dependent(s)’ removal from coverage within
      the 60-day time frame.
   If You Process Your Life Event after the Deadline
   If you miss the 60-day deadline and the event occurred in the current year, you must wait until
   the next Annual Benefits Enrollment period to add or delete your dependents.
   If you miss the 60-day deadline and the event occurred in the previous year, you may add
   dependents to your file but you may not cover them under your benefits, make any changes to
   existing dependents or make any benefit plan changes. (Adding the dependent to your file lists
   the dependent as eligible to be enrolled at the next Annual Benefits Enrollment, but does not
   enroll him or her in benefits currently.)

   Special Life Event Considerations
   The following section explains special circumstances that may happen in your life and how these
   changes affect your benefits. You must take all of the steps described below for your Life Event
   within 60 days of the date it occurs.
   ■ Birth or adoption of a child: To add a natural child to your coverage, you may use hospital
       records or an unofficial birth certificate as documentation of the birth. You should not wait to
       receive the baby’s Social Security number or official birth certificate. These documents may
      take more than 60 days to arrive and prevent you from starting coverage effective on the
       baby’s birth date.
   To add an adopted child to your benefit coverage, you must supply a copy of the placement
   papers or actual adoption papers. Coverage for an adopted child is effective the date the child is
   placed with you for adoption and is not retroactive to the child’s date of birth.
   ■ Relocation: If you are a Home-Based Representative or Level 84 Premium Services
       Representative, please keep in mind that the only Medical Benefit you are eligible to
       enroll in is the CORE Medical Option; therefore, relocation would not alter your
       Medical Benefit Option. If you are enrolled in the STANDARD, VALUE or CORE
       Medical Option and you move to a location where the STANDARD, VALUE or CORE
       Medical Option is available, you will stay enrolled in STANDARD, VALUE or CORE
       Medical Option and your network administrator will stay the same, or you may elect
       coverage that was not available in your prior location, such as an HMO.


   Forms & guides can be located in the eHR Center of Jetnet at
   httDs://www.ietnet.aa.com/ietnet/ao/ssoehr.asp?TaraetDoc=XML=20                                                       39
   The Benefits Service Center is available at https://www.ietnet.aa.com/ietnet/ao/ssomercer.asp




                                                                                                          EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 33 of 34




            /   Start a Chat
                                                                                                   Additional Health Benefit Rules

   httos://www.ietnet.aa.com/ietnet/qo/ssomercer.asp?ApplD=CHAT

   Eligibility
   Eligibility for continuation of coverage depends on the circumstances that result in the loss of
   existing coverage for you and your eligible dependents. The sections below explain who is
   eligible to elect continuation of coverage and the circumstances that result in eligibility for this
   coverage continuation.
   Continuation of Coverage for You and Your Dependents Qualifying
   Events
   ■   You may elect continuation of coverage for yourself and your eligible dependents, including
       a Company-recognized Domestic Partner and his or her children, for a maximum period of
       18 months if your coverage would otherwise end because of layoff or termination of your
       employment for any reason (except in the event of termination for gross misconduct).
   ■   If a disability occurs within 60 days of your loss of coverage due to termination of
       employment or reduction in hours, or you (or any eligible dependent) are disabled at any
       time during the first 60 days of continuation of coverage, you may be eligible to continue
       coverage for an additional 11 months (29 months total) for yourself and your dependents,
       including a Company-recognized Domestic Partner and his or her children. To qualify for
       this additional coverage, the Qualified Beneficiary must provide written determination of the
       disability award from the Social Security Administration to the COBRA administrator
       (Benefit Concepts, Inc.) within 60 days of the date of the Social Security Administration’s
       determination of disability and prior to the end of the 18-month continuation period.
   Continuation of Coverage for Your Dependents Only (Qualifying
   Events)
   Your covered dependents may continue coverage for a maximum period of 36 months if
   coverage would otherwise end because of:
   ■ Your divorce or legal separation
   ■ Your Company-recognized Domestic Partner relationship ends
   ■   You become eligible for (enrolled in) Medicare benefits
   ■ Loss of eligibility because the dependent, including children of a covered Company-
     recognized Domestic Partner, no longer meets the Plan’s definition of a dependent (for
     example, if a child reaches the Plan’s limiting age)
   ■   Your death
   ■   Your Company-recognized Domestic Partner’s death
   If you experience more than one of these Qualifying Events, your maximum continuation of
   coverage is the number of months allowed by the Qualifying Event that provides the longest
   period of continuation.
   How to Elect Continuation of Coverage
   Solicitation of Coverage
   Solicitation following layoff or termination: In the event that your employment ends through
   layoff or termination, you will automatically receive information from Benefit Concepts, Inc.,
   the COBRA administrator, about electing continuation of coverage through COBRA.



   Forms & guides can be located in the eHR Center of Jetnet at
   https://www.ietnet.aa.com/ietnet/ao/ssoehr.asp?TaraetDoc=XML=20                                                            233
   The Benefits Service Center is available at https://www.ietnet.aa.com/ietnet/ao/ssomercer.asp




                                                                                                               EXHIBIT A
Case 4:20-cv-00019-GKF-FHM Document 2-1 Filed in USDC ND/OK on 01/15/20 Page 34 of 34
‘Hkt MfMJ
                                                                                                                   /

                                       IN THE DISTRICT COURT OF TULSA COUNTY
                                                 STATE OF OKLAHOMA


      l/ee> U/q/ker Jr. .                                   )
     PETITIONER            :   1
                                                           )
    vs.                                                - - )-------- CASE NO.' FD- -
                                                           )
     /H\1 d^ed [/S a j/<Le k-                              )          FD DOCKET A
    RESPONDENT                                                                                                <£
                                                            )

                                                     COURT ORDER                                      is           & Jt$
                                                                                                                   &

     DATE:         /0//I ft 7
                                                                                                                   <3^
                  /hilfif/e-cJ fAsakAf                Pra       S*-          o> r\ d    If£0 Ij/c*l4&K*.i J £,
                                                 7                    7
      U      p> remn-t'; -thi'ev? h                   K           ct          oyn g-V             6   (jJ t

              [ie$pc?nc/&A-f               sdbpccn A                  A/ *>f jf   i$5i/ed                      Qi^d
                                                                                                                              4-J/« f\
     SC      ~f     'f’O       A/T7 e.-ric& y}       i //jVl8&f\e-£~f-Y                            ^ dc/CV/^&fWa


     u> hy         she         LustS j-ak^/v^                             -fhc     /a                 lY^^di'od)

     Pe'tifi'nH&'f             LuA£      v\o~t   /S'fi\                   * c°py±
              fr-hl-ef             H e<~* f i'vi ^ was                            by    b-crd'h s >'Ass            -f'h ts.
                                                                                                           +
     Ceuf't'         orde/cs           -khe Pe-fi-tSt? ri€</‘              -fg     d-e discs'    ^ ny          o\r\d
                                                                JZX
     *7/
     •fgt
                  d ocv
                   ■/%  yg^/7 de-rd1
                                                  -Huf
                                             ~df<=f -^tT* nrysWgm C&-,
                                                                       O American -ta
                                                                        'The. C/>o^-f pvvpk&C

    if^pe>5^ a fanC’i'r'^yi                           $10                            vr\-f\l doc-iw&^'^ 3 <51
    f <" d? d u <>'*?’&l <                                                    ir^Wy <So o^s ^vcd vA-fi'l ^ Friday
                      /fX.

     -TTORNEY FOR PETITIONER
                                                                                                              hl'h^ @ ^V-/y1'
               U> ■ £+*n?'P£'C /4YV'y /"c> f* rf^'+i«»d/'
                              7

    ATTORNEY FOR RESPONDENT
     /hit tired fasalke-fj fffi £*-


    GUARDIAN AD LITEM/ATTORNEY FOR MINOR CHILD



                                                                                         JUDGff TAMMY BRUCE

                                                                                                       EXHIBIT A
